Case 14-40360   Doc 1   Filed 11/06/14   Entered 11/06/14 15:15:52   Desc Main
                           Document      Page 1 of 9
Case 14-40360   Doc 1   Filed 11/06/14   Entered 11/06/14 15:15:52   Desc Main
                           Document      Page 2 of 9
Case 14-40360   Doc 1   Filed 11/06/14   Entered 11/06/14 15:15:52   Desc Main
                           Document      Page 3 of 9
Case 14-40360   Doc 1   Filed 11/06/14   Entered 11/06/14 15:15:52   Desc Main
                           Document      Page 4 of 9
Case 14-40360   Doc 1   Filed 11/06/14   Entered 11/06/14 15:15:52   Desc Main
                           Document      Page 5 of 9
Case 14-40360   Doc 1   Filed 11/06/14   Entered 11/06/14 15:15:52   Desc Main
                           Document      Page 6 of 9
Case 14-40360   Doc 1   Filed 11/06/14   Entered 11/06/14 15:15:52   Desc Main
                           Document      Page 7 of 9
Case 14-40360   Doc 1   Filed 11/06/14   Entered 11/06/14 15:15:52   Desc Main
                           Document      Page 8 of 9
Case 14-40360   Doc 1   Filed 11/06/14   Entered 11/06/14 15:15:52   Desc Main
                           Document      Page 9 of 9
